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UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, et al., )
Plaintiffs, §
v. § Civil Case No. 18-2340 (RJL)
CVS HEALTH CORPORATION, et al., §
Defendants. § F I L E D

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Clerk, U.S. District & Bankruptcy
M Courts for the District of Columt)ia

For the reasons stated on the record at the April 5, 2019 hearing in this
case, it is hereby

ORDERED that each amicus curiae who has been recognized by the Court
to date and who wishes to present testimony at a hearing on the Government`s
l\/Iotion for Entry of Final Judgment [Dkt. # 57] shall file with the Court, on or
before April 19, 2019, a list of no more than three witnesses that the amicus
curiae proposes to offer at the hearing; it is further

ORDERED that each plaintiff or defendant who wishes to present
testimony to rebut any witness identified by an amicus curiae shall file with the
Court, on or before May 3, 2019, a list of no more than three witnesses, combined,

that the parties propose to offer at a hearing on the Government’s Motion for Entry

of Final J'udgrnent; it is further

 

 

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ORDERED that all witness lists shall identify each proposed witness by
name, describe the bases of the proposed witness’s knowledge or expertise,
describe the subject matter that will be covered by the proposed witness’s
testimony, and provide an estimate of the duration of the proposed witness’s direct
testimony; and it is further

ORDERED that the Court, alone, will decide which, if any, of these
witnesses will be called at any future hearing

SO ORDERED. p\

 

RICHARD J. ISEO>
United States Dls ct Judge

